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                                       UNITED STATES BANKRUPTCY COURT
                                                              DISTRICT OF Connecticut
                                                             Hartford Division


In Re. THE NORWICH ROMAN CATHOLIC                                   §                  Case No. 21-20687
       DIOCESAN CORPORATION                                         §
                                                                    §
                      Debtor(s)                                     §
                                                                                            Jointly Administered

Monthly Operating Report                                                                                                  Chapter 11

Reporting Period Ended: 02/28/2025                                                       Petition Date: 07/15/2021

Months Pending: 44                                                                       Industry Classification:    8    6   6    1

Reporting Method:                              Accrual Basis                      Cash Basis

Debtor's Full-Time Employees (current):                                          24

Debtor's Full-Time Employees (as of date of order for relief):                   29



Supporting Documentation (check all that are attached):
(For jointly administered debtors, any required schedules must be provided on a non-consolidated basis for each debtor)

        Statement of cash receipts and disbursements
        Balance sheet containing the summary and detail of the assets, liabilities and equity (net worth) or deficit
        Statement of operations (profit or loss statement)
        Accounts receivable aging
        Postpetition liabilities aging
        Statement of capital assets
        Schedule of payments to professionals
        Schedule of payments to insiders
        All bank statements and bank reconciliations for the reporting period
        Description of the assets sold or transferred and the terms of the sale or transfer




/s/ Karen Huffer                                                             Karen Huffer
Signature of Responsible Party                                               Printed Name of Responsible Party
03/20/2025
Date
                                                                             201 Broadway Norwich, CT 06360
                                                                             Address



STATEMENT: This Periodic Report is associated with an open bankruptcy case; therefore, Paperwork Reduction Act exemption 5 C.F.R.
§ 1320.4(a)(2) applies.

UST Form 11-MOR (12/01/2021)                                        1
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Debtor's Name THE NORWICH ROMAN CATHOLIC                                                             Case No. 21-20687
              DIOCESAN CORPORATION
Part 1: Cash Receipts and Disbursements                                              Current Month            Cumulative

a.   Cash balance beginning of month                                                         $15,673,676
b.   Total receipts (net of transfers between accounts)                                         $992,399                 $57,045,781
c.   Total disbursements (net of transfers between accounts)                                  $1,191,318                 $52,437,977
d.   Cash balance end of month (a+b-c)                                                       $15,474,758
e.   Disbursements made by third party for the benefit of the estate                                    $0                       $0
f.   Total disbursements for quarterly fee calculation (c+e)                                  $1,191,318                 $52,437,977
Part 2: Asset and Liability Status                                                   Current Month
(Not generally applicable to Individual Debtors. See Instructions.)
a. Accounts receivable (total net of allowance)                                              $13,282,396
b.   Accounts receivable over 90 days outstanding (net of allowance)                         $12,475,594
c.   Inventory       ( Book        Market      Other       (attach explanation))                        $0
d    Total current assets                                                                    $28,851,356
e.   Total assets                                                                            $30,440,431
f.   Postpetition payables (excluding taxes)                                                    $487,034
g.   Postpetition payables past due (excluding taxes)                                                   $0
h.   Postpetition taxes payable                                                                         $0
i.   Postpetition taxes past due                                                                        $0
j.   Total postpetition debt (f+h)                                                              $487,034
k.   Prepetition secured debt                                                                           $0
l.   Prepetition priority debt                                                                  $134,018
m. Prepetition unsecured debt                                                                 $2,706,315
n.   Total liabilities (debt) (j+k+l+m)                                                       $3,327,368
o.   Ending equity/net worth (e-n)                                                           $27,113,063

Part 3: Assets Sold or Transferred                                                   Current Month            Cumulative


a.   Total cash sales price for assets sold/transferred outside the ordinary
     course of business                                                                                 $0                $7,229,000
b.   Total payments to third parties incident to assets being sold/transferred
     outside the ordinary course of business                                                            $0                  $41,337
c.   Net cash proceeds from assets sold/transferred outside the ordinary
     course of business (a-b)                                                                           $0                $7,187,663

Part 4: Income Statement (Statement of Operations)                                   Current Month            Cumulative
(Not generally applicable to Individual Debtors. See Instructions.)
a. Gross income/sales (net of returns and allowances)                                           $992,399
b.   Cost of goods sold (inclusive of depreciation, if applicable)                                      $0
c.   Gross profit (a-b)                                                                         $992,399
d.   Selling expenses                                                                                   $0
e.   General and administrative expenses                                                      $1,188,342
f.   Other expenses                                                                                   $0
g.   Depreciation and/or amortization (not included in 4b)                                              $0
h.   Interest                                                                                           $0
i.   Taxes (local, state, and federal)                                                                  $0
j.   Reorganization items                                                                            $2,975
k.   Profit (loss)                                                                             $-198,919                  $4,607,803


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Debtor's Name THE NORWICH ROMAN CATHOLIC                                                                     Case No. 21-20687
              DIOCESAN CORPORATION
Part 5: Professional Fees and Expenses

                                                                                  Approved       Approved       Paid Current       Paid
                                                                                Current Month   Cumulative         Month         Cumulative
a.     Debtor's professional fees & expenses (bankruptcy) Aggregate Total              $1,468     $5,414,207           $2,975      $5,413,815
       Itemized Breakdown by Firm
                Firm Name                         Role
       i        Ice Miller LLP                    Lead Counsel                             $0     $2,772,016                $0     $2,771,569
       ii       Robinson & Cole LLP               Local Counsel                            $0     $1,198,564                $0     $1,198,564
       iii      B. Riley Advisory Services        Financial Professional                   $0       $958,395                $0       $958,451
       iv       EPIQ Corporate Restructuring Other                                         $0       $261,096                $0       $261,096
       v        Gellert Scali Busenkell & Brow Special Counsel                             $0        $12,839                $0        $12,839
       vi       Hilco                             Other                                    $0        $18,000                $0        $18,000
       vii      Wellspeak Dugas & Kane, L.L. Other                                         $0        $27,610                $0        $27,610
       viii     Omni Management Group             Other                                $1,468       $165,686           $2,975        $165,686
       ix
       x
       xi
       xii       Note 1: The listing of Professionals in Part 5(a) and Part 5(b) provides details of Debtor’s professionals only. The total
                 in Part 5(c) includes all Estate Professionals.
       xiii      Note 2: The latest details of approved and paid fees for all estate professionals can be found in "Seventeenth Monthly
       xiv       Summary Statement of Payments to Retained
                 Professionals" [Doc 1264]
       xv
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       xvii
       xviii
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       xxi
       xxii
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       xxxiii
       xxxiv
       xxxv
       xxxvi


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Debtor's Name THE NORWICH ROMAN CATHOLIC                                   Case No. 21-20687
              DIOCESAN CORPORATION
      xxxvii
      xxxvii
      xxxix
      xl
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      xlii
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      xliv
      xlv
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Debtor's Name THE NORWICH ROMAN CATHOLIC                                                                   Case No. 21-20687
              DIOCESAN CORPORATION
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      ci

                                                                                Approved       Approved       Paid Current       Paid
                                                                              Current Month   Cumulative         Month         Cumulative
b.    Debtor's professional fees & expenses (nonbankruptcy) Aggregate Total              $0       $44,398                $0        $44,398
      Itemized Breakdown by Firm
               Firm Name                        Role
      i        Brown Jacobson PC                Special Counsel                          $0       $44,398                $0        $44,398
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      xiii
      xiv


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Debtor's Name THE NORWICH ROMAN CATHOLIC                                   Case No. 21-20687
              DIOCESAN CORPORATION
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      xviii
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Debtor's Name THE NORWICH ROMAN CATHOLIC                                   Case No. 21-20687
              DIOCESAN CORPORATION
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Debtor's Name THE NORWICH ROMAN CATHOLIC                                                            Case No. 21-20687
              DIOCESAN CORPORATION
         xcix
         c
c.       All professional fees and expenses (debtor & committees)               $1,468      $6,997,808         $2,975       $6,997,418




Part 6: Postpetition Taxes                                                               Current Month             Cumulative

a.   Postpetition income taxes accrued (local, state, and federal)                                       $0                          $0
b.   Postpetition income taxes paid (local, state, and federal)                                          $0                          $0
c.   Postpetition employer payroll taxes accrued                                                         $0                          $0
d.   Postpetition employer payroll taxes paid                                                       $2,475                   $188,465
e.   Postpetition property taxes paid                                                                    $0                          $0
f.   Postpetition other taxes accrued (local, state, and federal)                                        $0                          $0
g.   Postpetition other taxes paid (local, state, and federal)                                           $0                          $0

Part 7: Questionnaire - During this reporting period:

a.   Were any payments made on prepetition debt? (if yes, see Instructions)        Yes        No
b.   Were any payments made outside the ordinary course of business                Yes        No
     without court approval? (if yes, see Instructions)
c.   Were any payments made to or on behalf of insiders?                           Yes        No
d.   Are you current on postpetition tax return filings?                           Yes        No
e.   Are you current on postpetition estimated tax payments?                       Yes        No
f.   Were all trust fund taxes remitted on a current basis?                        Yes        No
g.   Was there any postpetition borrowing, other than trade credit?                Yes        No
     (if yes, see Instructions)
h.   Were all payments made to or on behalf of professionals approved by           Yes        No     N/A
     the court?
i.   Do you have:            Worker's compensation insurance?                      Yes        No
                                 If yes, are your premiums current?                Yes        No     N/A      (if no, see Instructions)
                             Casualty/property insurance?                          Yes        No
                                 If yes, are your premiums current?                Yes        No     N/A      (if no, see Instructions)
                             General liability insurance?                          Yes        No
                                 If yes, are your premiums current?                Yes        No     N/A      (if no, see Instructions)
j.   Has a plan of reorganization been filed with the court?                       Yes        No
k.   Has a disclosure statement been filed with the court?                         Yes        No
l.   Are you current with quarterly U.S. Trustee fees as                           Yes        No
     set forth under 28 U.S.C. § 1930?




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Debtor's Name THE NORWICH ROMAN CATHOLIC                                                                        Case No. 21-20687
              DIOCESAN CORPORATION
Part 8: Individual Chapter 11 Debtors (Only)

a.      Gross income (receipts) from salary and wages                                                                 $0
b.      Gross income (receipts) from self-employment                                                                  $0
c.      Gross income from all other sources                                                                           $0
d.      Total income in the reporting period (a+b+c)                                                                  $0
e.      Payroll deductions                                                                                            $0
f.      Self-employment related expenses                                                                              $0
g.      Living expenses                                                                                               $0
h.      All other expenses                                                                                            $0
i.      Total expenses in the reporting period (e+f+g+h)                                                              $0
j.      Difference between total income and total expenses (d-i)                                                      $0
k.      List the total amount of all postpetition debts that are past due                                             $0
l. Are you required to pay any Domestic Support Obligations as defined by 11              Yes       No
   U.S.C § 101(14A)?
m. If yes, have you made all Domestic Support Obligation payments?                        Yes       No        N/A

                                                     Privacy Act Statement
28 U.S.C. § 589b authorizes the collection of this information, and provision of this information is mandatory under 11 U.S.C.
§§ 704, 1106, and 1107. The United States Trustee will use this information to calculate statutory fee assessments under 28
U.S.C. § 1930(a)(6). The United States Trustee will also use this information to evaluate a chapter 11 debtor's progress
through the bankruptcy system, including the likelihood of a plan of reorganization being confirmed and whether the case is
being prosecuted in good faith. This information may be disclosed to a bankruptcy trustee or examiner when the information
is needed to perform the trustee's or examiner's duties or to the appropriate federal, state, local, regulatory, tribal, or foreign
law enforcement agency when the information indicates a violation or potential violation of law. Other disclosures may be
made for routine purposes. For a discussion of the types of routine disclosures that may be made, you may consult the
Executive Office for United States Trustee's systems of records notice, UST-001, "Bankruptcy Case Files and Associated
Records." See 71 Fed. Reg. 59,818 et seq. (Oct. 11, 2006). A copy of the notice may be obtained at the following link: http://
www.justice.gov/ust/eo/rules_regulations/index.htm. Failure to provide this information could result in the dismissal or
conversion of your bankruptcy case or other action by the United States Trustee. 11 U.S.C. § 1112(b)(4)(F).


I declare under penalty of perjury that the foregoing Monthly Operating Report and its supporting
documentation are true and correct and that I have been authorized to sign this report on behalf of the
estate.



/s/ Karen Huffer                                                                  Karen Huffer
Signature of Responsible Party                                                    Printed Name of Responsible Party

Diocesan Finance Officer                                                          03/20/2025
Title                                                                             Date




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Debtor's Name THE NORWICH ROMAN CATHOLIC                                     Case No. 21-20687
              DIOCESAN CORPORATION




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Debtor's Name THE NORWICH ROMAN CATHOLIC                                       Case No. 21-20687
              DIOCESAN CORPORATION




                                                 Bankruptcy1to50




                                                Bankruptcy51to100




                                               NonBankruptcy1to50




                                              NonBankruptcy51to100




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Debtor's Name THE NORWICH ROMAN CATHOLIC                                    Case No. 21-20687
              DIOCESAN CORPORATION




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                                                                                                         The Norwich Roman Catholic Diocesan Corporation, Debtor
                                                                                         United States Bankruptcy Court - District of Connecticut - Hartford Division [Case # 21-20687]
                                                                                         Statement of Receipts & Disbursements (Restricted and Unrestricted Debtor Bank Accounts)
                                                                                                             For the Period February 1, 2025 - February 28, 2025
                                                                                                                                                                     Business
                                                                                         General Fund      Lay Pension                                               Advantage          St. Bernard Sale                  31 Perkins Sale        Mae-Lee Trust CD
                                                                  Deposit Account
                                                                                           Account
                                                                                                                           Medical Account Payroll Account                                             [5]                                 [6]          [4]            Burke Levitsky [4]
                                                                                                             Account                                               Account (Debit     Escrow Account                  Escrow Account
                          Description                                                                                                                                   Card)
                                                                        M&T                   M&T                 M&T                M&T                 M&T                 M&T                     M&T                       M&T                    M&T                    M&T
                                                                      XXX0509              XXX1681               XXX3679           XXX3687             XXX2203             XXX1906                 XXX7583                   XXX3436                 XXX0903               XXX1382

Beginning Reconciled Cash Balance, 2/1/25                        $          721,609 $             142,298 $            3,459 $          615,837 $            47,369 $               5,948 $              6,766,515 $               641,665 $                  48,797                9,898

Plus Receipts:
 Donations - Restricted                                                       8,988                   -                  -                   -                  -                     -                         -                      -                         -                    -
 Donations - Unrestricted                                                       -                     -                  -                   -                  -                     -                         -                      -                         -                    -
                       [1]
 Non-Diocesan Payroll                                                           -                     -                  -                   -               37,975                   -                         -                      -                         -                    -
 Health Insurance Program                                                       -                     -                  -               597,342                -                     -                         -                      -                         -                    -
 Cathedraticum Collections                                                  151,213                   -                  -                   -                  -                     -                         -                      -                         -                    -
 Commercial Insurance Program                                               152,567                   -                  -                   -                  -                     -                         -                      -                         -                    -
 Misc. Reimbursements [2]                                                     9,535                   -                  -                     50               -                     -                         -                      -                         -                    -
                           [3]
 Priest Retirement Funding                                                    5,750                   -                  -                   -                  -                     -                         -                      -                         -                    -
 Interest & Dividends                                                           -                     -                  -                   -                  -                     -                         519                        49                    -                    -
 Interest & Dividends Reinvested                                                -                     -                  -                   -                  -                     -                         -                      -                         -                    -

Total Receipts                                                   $          328,052 $                 -      $           -     $         597,392 $           37,975 $                 -      $                  519   $                    49    $               -     $              -
Less Disbursements:
 Payroll                                                                         -                    -                  -                   -              (92,444)                  -                         -                      -                         -                    -
 Health Insurance                                                                -                (12,826)               -              (564,762)               -                     -                         -                      -                         -                    -
 Commercial Insurance                                                            -               (171,301)               -                   -                  -                     -                         -                      -                         -                    -
 Priest Retirement Fund                                                          -                (74,844)               -                   -                  -                     -                         -                      -                         -                    -
 Christian Brothers Retirement Plan                                              -                 (8,531)               -                   -                  -                     -                         -                      -                         -                    -
 Donations/Diocese Causes (and associated expenses)                              -                (72,348)               -                   -                  -                     -                         -                      -                         -                    -
 Bank Fees                                                                       -                    -                  -                   -                  -                     -                         -                      -                         -                    -
 Bankruptcy Professionals                                                        -                 (2,975)               -                   -                  -                     -                         -                      -                         -                    -
 Administrative Service Providers                                                -                 (6,250)               -                   -                  -                     -                         -                      -                         -                    -
 Membership dues/fees                                                            -                    -                  -                   -                  -                     -                         -                      -                         -                    -
 Operating Subsidies                                                             -                (19,500)               -                   -                  -                     -                         -                      -                         -                    -
 Stipends                                                                        -                    -                  -                   -                  -                     -                         -                      -                         -                    -
 Accounting Software                                                             -                (31,288)               -                   -                  -                     -                         -                      -                         -                    -
 Equipment leases                                                                -                 (1,168)               -                   -                  -                     -                         -                      -                         -                    -
 Postage                                                                         -                 (2,000)               -                   -                  -                     -                         -                      -                         -                    -
 Continuing Education                                                            -                    -                  -                   -                  -                     -                         -                      -                         -                    -
 Interest Expense - line of credit                                               -                 (1,613)               -                   -                  -                     -                         -                      -                         -                    -
 Utilities                                                                       -                 (8,932)               -                   -                  -                     -                         -                      -                         -                    -
                  [7]                                                            -               (118,817)               -                   -                  -                  (1,434)                      -                      -                         -                    -
 Other expenses
 US Trustee fees                                                                 -                    -                  -                   -                  -                     -                         -                      -                         -                    -
 Payroll reimbursement                                                           -                    -                  -                   -                  -                     -                         -                      -                         -                    -
 Voided Check                                                                    -                    850                -                   -                  -                     -                         -                      -                         -                    -

Total Disbursements                                              $              -    $           (531,544) $             -   $          (564,762) $         (92,444) $             (1,434) $                   -   $                   -   $                     -   $                -
 Transfers                                                                 (425,000)              400,000                -                   -               25,000                   -                        -                       -                         -                    -
 Plus/ (Minus) Unrealized and realized Gains/(losses)                           -                     -                  -                   -                  -                     -                        -                       -                         183                    0
Ending Reconciled GL Balance, 2/28/25                            $          624,660 $              10,754 $            3,459 $           648,467 $           17,900 $               4,515 $              6,767,034 $               641,714 $                  48,979 $              9,898
Outstanding Checks                                                                                131,331                -
Ending Account Balance, 2/28/25                                  $          624,660 $             142,085 $            3,459 $          648,467 $            17,900 $               4,515 $              6,767,034 $               641,714 $                  48,979 $              9,898

Notes:
[1] Beginning in January 2022, the Debtor no longer administers payroll on behalf of four non-debtor entities. The non-debtor entities inadvertently funded payroll for January, in December. This error was corrected in January and the funds reimbursed to the non-debtor entities in
January.
[2] Background checks, ads, supplies, repairs, QuickBooks fees, UMR refunds.
[3] Collections are remitted to non-debtor entity, The Priest Retirement Fund.
[4] Balance for Mae Lee CD and Burke Levitsky CD account statements are produced quarterly.
[5] The amount includes $6.55MM of net proceeds from the sale of St. Bernard, Montville property.
[6] The amount includes $137k of net cash proceeds from the sale of 31 Perkins Avenue property, $163k from sale of 25 Otis St. property, $177k from sale of 7-9, 11 Bath Street and $160k from sale of 17 Otis St.
[7] Amounts paid for Mediation services (JAMS) is included under "Other expenses" of General Fund account




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                                                                                                                     The Norwich Roman Catholic Diocesan Corporation, Debtor
                                                                                                     United States Bankruptcy Court - District of Connecticut - Hartford Division [Case # 21-20687]
                                                                                                     Statement of Receipts & Disbursements (Restricted and Unrestricted Debtor Bank Accounts)
                                                                                                                         For the Period February 1, 2025 - February 28, 2025
                                                                                                                                                      Dorothy H.          Seminarian
                                                                   Insurance Reserve                        Priest Needs        Priest Needs                                                                  The King            Continuing                        King Vocation
                                                                            [1]             Reserve Fund                                                Cooke             Educational     Gift Annuity [6]                                        SAM Account
                                                                                                              Account        Account - Managed                                                               Family Fund          Education                             Fund
                                                                                                                                                   Ecumenical Fund           Fund
                            Description                                                                                                                                                                                                                                                    Total of all Accounts
                                                                         Janney                 Janney         Janney             Janney               Janney               Janney            Janney             Janney            Janney             Janney            Janney
                                                                        XXX0959                 XXX9931        XXX9841           XXX7676               XXX7582             XXX4046            XXX0304            XXX8850           XXX8691            XXX0689           XXX0652

Beginning Reconciled Cash Balance, 2/1/25                           $       1,020,490 $               -    $      638,971 $            197,585 $          914,909 $            574,543 $          12,492 $          322,888 $         782,340 $          901,621 $        1,304,444 $                 15,673,676

Plus Receipts:
 Donations - Restricted                                                              -                -               -                     -                  -                   -                  -                -                   -                 -                  -                          8,988
 Donations - Unrestricted                                                            -                -               -                     -                  -                   -                  -                -                   -                 -                  -                            -
 Non-Diocesan Payroll                                                                -                -               -                     -                  -                   -                  -                -                   -                 -                  -                         37,975
 Health Insurance Program                                                            -                -               -                     -                  -                   -                  -                -                   -                 -                  -                        597,342
 Cathedraticum Collections                                                           -                -               -                     -                  -                   -                  -                -                   -                 -                  -                        151,213
 Commercial Insurance Program                                                        -                -               -                     -                  -                   -                  -                -                   -                 -                  -                        152,567
 Misc. Reimbursements [2]                                                            -                -               -                     -                  -                   -                  -                -                   -                 -                  -                          9,585
 Priest Retirement Funding                                                           -                -               -                     -                  -                   -                  -                -                   -                 -                  -                          5,750
 Interest & Dividends                                                              3,741              -             2,658                   178              1,826                 328                 45              296               1,655             1,411              2,769                       15,476
 Interest & Dividends Reinvested [3]                                              (3,741)             -            (2,658)                 (178)            (1,826)               (328)               (45)            (296)             (1,655)           (1,411)            (2,769)                     (14,908)

Total Receipts                                                      $                -      $         -    $            -    $              -      $             -    $              -    $           -      $            -   $             -     $            -    $             -    $                 963,987
Less Disbursements:
 Payroll                                                                             -                -                 -                   -                    -                   -                -                   -                -                   -                  -                      (92,444)
 Health Insurance                                                                    -                -                 -                   -                    -                   -                -                   -                -                   -                  -                     (577,588)
 Commercial Insurance                                                                -                -                 -                   -                    -                   -                -                   -                -                   -                  -                     (171,301)
 Priest Retirement Fund                                                              -                -                 -                   -                    -                   -                -                   -                -                   -                  -                      (74,844)
 Christian Brothers Retirement Plan                                                  -                -                 -                   -                    -                   -                -                   -                -                   -                  -                       (8,531)
 Donations/Diocese Causes (and associated expenses)                                  -                -                 -                   -                    -                   -                -                   -                -                   -                  -                      (72,348)
 Bank Fees                                                                           -                -                 -                   -                    -                   -                -                   -                -                   -                  -                          -
 Bankruptcy Professionals                                                            -                -                 -                   -                    -                   -                -                   -                -                   -                  -                       (2,975)
 Professional fees - ordinary course                                                 -                -                 -                   -                    -                   -                -                   -                -                   -                  -                       (6,250)
 Membership dues/fees                                                                -                -                 -                   -                    -                   -                -                   -                -                   -                  -                          -
 Operating Subsidies                                                                 -                -                 -                   -                    -                   -                -                   -                -                   -                  -                      (19,500)
 Stipends                                                                            -                -                 -                   -                    -                   -                -                   -                -                   -                  -                          -
 Accounting Software                                                                 -                -                 -                   -                    -                   -                -                   -                -                   -                  -                      (31,288)
 Equipment leases                                                                    -                -                 -                   -                    -                   -                -                   -                -                   -                  -                       (1,168)
 Postage                                                                             -                -                 -                   -                    -                   -                -                   -                -                   -                  -                       (2,000)
 Continuing Education                                                                -                -                 -                   -                    -                   -                -                   -                -                   -                  -                          -
 Interest Expense - line of credit                                                   -                -                 -                   -                    -                   -                -                   -                -                   -                  -                       (1,613)
 Utilities                                                                           -                -                 -                   -                    -                   -                -                   -                -                   -                  -                       (8,932)
 Other expenses                                                                      -                -                 -                   -                    -                   -                -                                 (1,134)                -                  -                     (121,384)
 US Trustee fees                                                                     -                -                 -                   -                    -                   -                -                   -                -                   -                  -                          -
 Payroll reimbursement                                                               -                -                 -                   -                    -                   -                -                   -                -                   -                  -                          -
 Voided Check                                                                        -                -                 -                   -                    -                   -                -                   -                -                   -                  -                          850
                                                                                                                                                                                                                                                                                                             -
Total Disbursements                                                 $                -      $         -    $            -    $              -      $             -    $              -    $           -      $            -   $         (1,134) $              -    $             -    $              (1,191,318)
 Transfers                                                                                                                                                                                                                                                                                                   -
 Plus/ (Minus) Unrealized and realized Gains/(losses)[4] [5]                    3,741                               2,203                1,678             (3,138)               4,496                 45              (432)              481                343             18,811                       28,411
Ending Reconciled GL Balance, 2/28/25                               $       1,024,232 $               -    $      641,174 $            199,263 $          911,771 $            579,038 $          12,538 $          322,455 $         781,686 $          901,964 $        1,323,256 $                 15,474,758
Outstanding Checks                                                                -                   -               -                    -                  -                    -                 -                  -                 -                  -                  -                        131,331
Ending Account Balance, 2/28/25                                     $       1,024,232 $               -    $      641,174 $            199,263 $          911,771 $            579,038 $          12,538 $          322,455 $         781,686 $          901,964 $        1,323,256 $                 15,606,089

Notes:

[1] Account statement for April, May 2024 was not produced by Janney as referenced in MOR exhibit. This is an unrestricted savings account. Not used for Insurance purposes, nor "reserved" for any specific purpose. Account title is legacy only.
[2] Background checks, ads, supplies, repairs
[3] From brokerage accounts, reinvested
[4] Total Receipts plus the investment net gains and losses reconciles to Part 1 of the MOR.
[5] Unrealized Gains/(losses) includes the reinvested Interest and Dividend amounts. The details of Interest and Dividend amounts are broken out in Receipts and Disbursements section.
[6] Gift Annuity (Janney Acc. # 0304) statements are generated quarterly.
Reserve Fund (x9931) statement was not produced for the reporting month




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                                      The Norwich Roman Catholic Diocesan Corporation, Debtor
                      United States Bankruptcy Court - District of Connecticut - Hartford Division [Case # 21-20687]
                      Statement of Receipts & Disbursements (Restricted and Unrestricted Debtor Bank Accounts)
                                          For the Period February 1, 2025 - February 28, 2025



                               Description                                     Debtor              Non-Debtor          Total




Receipts:
 Donations - Restricted                                                   $           8,988 $                -   $               8,988
 Donations - Unrestricted                                                               -                    -                     -
 Non-Diocesan Payroll                                                                   -                 37,975                37,975
 Health Insurance Program                                                            25,257              572,085               597,342
 Cathedraticum Collections                                                          151,213                  -                 151,213
 Commercial Insurance Program                                                         6,808              145,759               152,567
 Misc. Reimbursements                                                                 8,721                  864                 9,585
 Priest Retirement Funding                                                            5,750                  -                   5,750
 Interest & Dividends                                                                15,476                  -                  15,476
 Interest & Dividends Reinvested                                                    (14,908)                 -                 (14,908)

Total Receipts                                                            $         207,304    $         756,683 $             963,987
Disbursements:
 Payroll                                                                            (54,469)             (37,975)               (92,444)
 Health Insurance                                                                   (25,489)            (552,098)              (577,588)
 Commercial Insurance                                                                (9,451)            (161,850)              (171,301)
 Priest Retirement Fund                                                             (74,844)                 -                  (74,844)
 Christian Brothers Retirement Plan                                                  (8,531)                 -                   (8,531)
 Donations/Diocese Causes (and associated expenses)                                 (72,348)                 -                  (72,348)
 Bank Fees                                                                              -                    -                      -
 Bankruptcy Professionals                                                            (2,975)                 -                   (2,975)
 Professional fees - ordinary course                                                 (6,250)                 -                   (6,250)
 Membership dues/fees                                                                   -                    -                      -
 Operating Subsidies                                                                (19,500)                 -                  (19,500)
 Stipends                                                                               -                    -                      -
 Accounting Software                                                                (31,288)                 -                  (31,288)
 Equipment leases                                                                    (1,168)                 -                   (1,168)
 Postage                                                                             (2,000)                 -                   (2,000)
 Continuing Education                                                                   -                    -                      -
 Interest Expense - line of credit                                                   (1,613)                 -                   (1,613)
 Utilities                                                                           (8,932)                 -                   (8,932)
 Other expenses                                                                    (121,384)                 -                 (121,384)
 US Trustee fees                                                                        -                    -                      -
 Payroll reimbursement                                                                  -                    -                      -
 Voided Check                                                                           850                  -                      850

Total Disbursements                                                       $        (439,394) $          (751,923) $       (1,191,318)




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                                 The Norwich Roman Catholic Diocesan Corporation, Debtor
                 United States Bankruptcy Court - District of Connecticut - Hartford Division [Case # 21-20687]
                                     Cumulative Schedule of Assets Sold or Transferred
                                                                                                    Payments made
                                                                                                                             Net sale
           Asset                        Description     Date of sale/transfer   Gross sales price from the sale to or
                                                                                                                            proceeds
                                                                                                     by 3rd parties
St. Bernard School, Montville
 (1593 Route 32 property)               Real Estate        June 21, 2023        $      6,550,000   $             -      $      6,550,000
      31 Perkins Avenue                 Real Estate      December 19, 2023               145,000               8,064             136,936
        25 Otis Street                  Real Estate       January 18, 2024               174,000              10,875             163,125
    7-9 and 11 Bath Street              Real Estate       February 8, 2024               190,000              12,919             177,081
        17 Otis Street                  Real Estate      February 29, 2024               170,000               9,478             160,522

     Cumulative Total                                                           $      7,229,000   $          41,337    $      7,187,663




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                             The Norwich Roman Catholic Diocesan Corporation, Debtor
             United States Bankruptcy Court - District of Connecticut - Hartford Division [Case # 21-20687]
              Statement of Operations (For the Period February 1, 2025 - February 28, 2025) - Cash Basis
                        UNAUDITED - Not in accordance with GAAP- Subject to Material Change

Gross income / Sales (net of returns and allowances; includes investment gains / losses)              $       992,399
Cost of goods sold (incl. depreciation, if applicable)                                                            -
Gross profit (a - b)                                                                                          992,399
Selling expenses
General and administrative expenses                                                                       (1,188,342)
Other expenses                                                                                                   -
Depreciation and/or amortization (not included in 4b)                                                            -
Interest                                                                                                         -
Taxes (local, state, and federal)                                                                                -
Reorganization Items                                                                                          (2,975)
Other Income                                                                                                     -
Profit (Loss)                                                                                         $     (198,919)




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              The Norwich Roman Catholic Diocesan Corporation, Debtor
                United States Bankruptcy Court - District of Connecticut
                           Hartford Division [Case # 21-20687]
                Balance Sheet - As of February 28, 2025 - Cash Basis [1]
        UNAUDITED - Not in accordance with GAAP- Subject to Material Change
                           Description                                   Amount
Cash - Restricted & Unrestricted                                   $       15,474,758
Pre-Petition Accounts Receivable, net [2]                                   9,345,528
Pre-Petition Prepaid expenses                                                   94,202
Building and land, net [5]                                                  1,556,454
Office Equipment, net                                                              804
Automobiles, net                                                                31,818
Pre-Petition Notes Receivable - Secured                                     1,324,041
Total Assets                                                                                $               27,827,604

Prepetition priority debt [3]                                                               $                  189,011
Prepetition unsecured debt [4]                                                                               2,876,325
Total Liabilities                                                                           $                3,065,336

Net Assets                                                                                  $               24,762,268
Total Liabilities & Net Assets                                                              $               27,827,604
Notes:
[1] Cash Basis Balance Sheet with the exception of certain pre-petition asset and liability balances as of the 7/15/21
filing date as noted above. This Balance Sheet excludes post petition receivables and payables.


[2] Accounts receivable is held constant at prepetition levels as postpetition MOR reporting is on a cash basis.
Additionally, the amount shown here is consistent with the amount to be included in an amended schedule AB and
reflects adjustments identified during the July closing activity.
[3] Prepetition priority debt is held constant at prepetition levels as postpetition MOR reporting is on a cash basis.
Additionally, the amount shown here is consistent with the amount to be included in an amended Schedule E. This
balance sheet value excludes any payments made towards prepetition priority debt.

Below is the reconciliation of Prepetition Priority to Part 2 of the MOR:


Prepetition Priority Debt per General Ledger                                               $                     189,011
Less: Accrued prepetition wages paid during the reporting period                                                 (23,282)
Less: Payroll prefunded prior to filing                                                                          (31,657)
Less: Expense Reimbursement paid prior to filing                                                                     (53)
Prepetition Priority Debt (part 2 of MOR)                                                  $                     134,018

[4] Prepetition unsecured debt is held constant at prepetition levels as postpetition MOR reporting is on a cash basis.
Additionally, the amount shown here is consistent with the amount reported in amended Schedule F. This balance
sheet value excludes any payments made towards prepeition unsecured debt and excludes contingent abuse claims.



Below is the reconciliation of Prepeition Unsecured Debt to Part 2 of the MOR:
Prepetition Unsecured Debt per General Ledger                                              $                   2,876,325
Less: Payments on Prepetition Unsecured Debt made post-petition                                                 (170,010)
Total Prepetition Unsecured Debt (Part 2 of MOR)                                           $                   2,706,315

[5] Building and land, net amount has been adjusted to account for sale of certain properties located at:
    a) 1593 Route 32, Montville, CT, as approved by bankruptcy court on June 20, 2023 (Docket # 1344),
    b) 31 Perkins Avenue, Norwich, CT, as approved by bankruptcy court on November 22, 2023 (Docket # 1557) and
    sale conssumated on December 19, 2023
    c) 25 Otis Street, Norwich, CT, as approved by bankruptcy court on November 22, 2023 (Docket # 1559) and sale
    conssumated on January 8, 2024
    d) 7-9, 11 Bath Street, Norwich, CT, as approved by bankruptcy court on November 22, 2023 (Docket # 1558) and
    sale conssumated on February 8, 2024
    e) 17 Otis Street, Norwich, CT, as approved by bankruptcy court on February 13, 2024 (Docket # 1693) and sale
    conssumated on February 29, 2024, closing statement filed on March 8, 2023 (Docket # 1713)




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                                           The Norwich Roman Catholic Diocesan Corporation, Debtor
                           United States Bankruptcy Court - District of Connecticut - Hartford Division [Case # 21-20687]
                                                       Schedule of Payments to Insiders
                                               Pmt Amount /
                                 Payment                                                              Bank
        Insider Name                          Market Value of       Reason for Pmt or Transfer                        Source Document
                                    Date                                                            Account
                                              Non-cash Pmt
Monsignor Leszek T. Janik         2/28/2025              540.00 Monthly Payroll                      2203 Clergy payroll journal
Father Peter J. Langevin          2/28/2025            3,346.00 Monthly Payroll                      2203 Clergy payroll journal
                                                                Reimbursements - Continuing
Father Peter J. Langevin          2/14/2025            1,134.00 education expense                    8691 Janney Montgomery statement




                                Total         $        5,020.00




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FOR INQUIRIES CALL:       WEST MAIN STREET                                                          ACCOUNT TYPE
                          (860) 889-4711
                                                                                             COMMERCIAL CHECKING
                                                        00   0 08271M NM 017
                                                                                    ACCOUNT NUMBER               STATEMENT PERIOD
                      000000                                                                 0509                 02/01/25 - 02/28/25
                                                                N
                                                                                 BEGINNING BALANCE                        $721,608.31
                      DIOCESE OF NORWICH
                                                                                 DEPOSITS & CREDITS                        328,051.74
                      DEBTOR IN POSSESSION #21-20687
                                                                                 LESS CHECKS & DEBITS                      425,000.00
                      201 BROADWAY
                                                                                 LESS SERVICE CHARGES                            0.00
                      NORWICH CT 06360
                                                                                 ENDING BALANCE                           $624,660.05




                                                        ACCOUNT ACTIVITY
 POSTING                                                              DEPOSITS & OTHER      WITHDRAWALS &                 DAILY
                              TRANSACTION DESCRIPTION
  DATE                                                                   CREDITS (+)        OTHER DEBITS (-)             BALANCE
 02/01/2025   BEGINNING BALANCE                                                                                           $721,608.31
 02/03/2025   XFER TO :             1681                                                         $100,000.00                621,608.31
 02/04/2025   XFER TO :             1681                                                           75,000.00                546,608.31
 02/07/2025   REMOTE CHECK DEPOSIT                                             $44,998.19
 02/07/2025   REMOTE CHECK DEPOSIT                                              41,882.27                                   633,488.77
 02/10/2025   REMOTE CHECK DEPOSIT                                              16,652.24
 02/10/2025   XFER TO :         1681                                                                125,000.00              525,141.01
 02/13/2025   REMOTE CHECK DEPOSIT                                              28,139.58
 02/13/2025   DEPOSIT                                                               50.00                                   553,330.59
 02/18/2025   REMOTE CHECK DEPOSIT                                              58,023.30                                   611,353.89
 02/19/2025   XFER TO :         1681                                                                100,000.00              511,353.89
 02/20/2025   REMOTE CHECK DEPOSIT                                              20,512.98                                   531,866.87
 02/21/2025   REMOTE CHECK DEPOSIT                                              15,023.91                                   546,890.78
 02/24/2025   REMOTE CHECK DEPOSIT                                              80,349.10
 02/24/2025   XFER TO :          2203                                                                25,000.00              602,239.88
 02/27/2025   REMOTE CHECK DEPOSIT                                              22,420.17                                   624,660.05
              NUMBER OF DEPOSITS/CHECKS PAID                                          10                   0




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                                              1 FINANCIAL PLAZA HARTFORD, CT 06103
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FOR INQUIRIES CALL:   WEST MAIN STREET                                                               ACCOUNT TYPE
                      (860) 889-4711
                                                                                              COMMERCIAL CHECKING
                                                       ERR   0 08271M ERR 030
                                                                                     ACCOUNT NUMBER               STATEMENT PERIOD
                      000000                                                                  1681                 02/01/25 - 02/28/25
                                                                N
                                                                                  BEGINNING BALANCE                        $313,567.24
                      NORWICH ROMAN CATHOLIC DIOCESAN CORP
                                                                                  DEPOSITS & CREDITS                        400,000.00
                      DEBTOR IN POSSESSION 21-20687
                                                                                  LESS CHECKS & DEBITS                      571,481.98
                      201 BROADWAY
                                                                                  LESS SERVICE CHARGES                            0.00
                      NORWICH CT 06360
                                                                                  ENDING BALANCE                           $142,085.26




                                                         ACCOUNT ACTIVITY
 POSTING                                                               DEPOSITS & OTHER      WITHDRAWALS &                 DAILY
                           TRANSACTION DESCRIPTION
  DATE                                                                    CREDITS (+)        OTHER DEBITS (-)             BALANCE
 02/01/2025   BEGINNING BALANCE                                                                                            $313,567.24
 02/03/2025   XFER FROM:          0509                                      $100,000.00
 02/03/2025   DIOCESE NORWICH2 ACH     -SETT-ONLINEACH                                                $6,442.75
 02/03/2025   CHECK NUMBER     69493                                                                    500.00
 02/03/2025   CHECK NUMBER     69558                                                                     54.41
 02/03/2025   CHECK NUMBER     69561                                                                     166.42
 02/03/2025   CHECK NUMBER     69562                                                                   1,786.01
 02/03/2025   CHECK NUMBER     69569                                                                  17,843.51
 02/03/2025   CHECK NUMBER     69570                                                                   2,167.71              384,606.43
 02/04/2025   XFER FROM:               0509                                      75,000.00
 02/04/2025   CHECK NUMBER     69560                                                                     131.98
 02/04/2025   CHECK NUMBER     69565                                                                  16,000.00              443,474.45
 02/05/2025   CHECK NUMBER     69567                                                                     78.32               443,396.13
 02/07/2025   CHECK NUMBER     69564                                                                    100.00
 02/07/2025   CHECK NUMBER     69577                                                                   7,500.00
 02/07/2025   CHECK NUMBER     69578                                                                  15,551.12
 02/07/2025   CHECK NUMBER     69579                                                                    800.00
 02/07/2025   CHECK NUMBER     69580                                                                  74,043.82
 02/07/2025   CHECK NUMBER     69582                                                                    286.14               345,115.05
 02/10/2025   XFER FROM:               0509                                     125,000.00
 02/10/2025   CHECK NUMBER     69557                                                                    750.00
 02/10/2025   CHECK NUMBER     69568                                                                    155.90
 02/10/2025   CHECK NUMBER     69585                                                                  37,447.49
 02/10/2025   CHECK NUMBER     69586                                                                   8,896.37
 02/10/2025   CHECK NUMBER     69587                                                                  76,808.68              346,056.61
 02/11/2025   CHECK NUMBER     69551                                                                      50.00
 02/11/2025   CHECK NUMBER     69566                                                                     80.00
 02/11/2025   CHECK NUMBER     69576                                                                    250.00
 02/11/2025   CHECK NUMBER     69584                                                                    263.93               345,412.68
 02/12/2025   CHECK NUMBER     69555                                                                    400.00
 02/12/2025   CHECK NUMBER     69571                                                                     151.20              344,861.48
 02/13/2025   CHECK NUMBER     69504                                                                   4,387.50
 02/13/2025   CHECK NUMBER     69592                                                                   1,168.02              339,305.96
 02/14/2025   CHECK NUMBER     69581                                                                   9,911.93
 02/14/2025   CHECK NUMBER     69595                                                                   6,000.00


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FOR INQUIRIES CALL:   WEST MAIN STREET                                                        ACCOUNT TYPE
                      (860) 889-4711
                                                                                       COMMERCIAL CHECKING
                                                     00   0 08271M NM 017
                                                                              ACCOUNT NUMBER            STATEMENT PERIOD
                      000000                                                           3679              02/01/25 - 02/28/25
                                                             N
                                                                            BEGINNING BALANCE                      $3,459.20
                      DIOCESE OF NORWICH
                                                                            DEPOSITS & CREDITS                           0.00
                      DEBTOR IN POSSESSION #21-20687
                                                                            LESS CHECKS & DEBITS                         0.00
                      201 BROADWAY
                                                                            LESS SERVICE CHARGES                        0.00
                      201 BROADWAY
                                                                            ENDING BALANCE                         $3,459.20
                      NORWICH CT 06360




                                                     ACCOUNT ACTIVITY
 POSTING                                                           DEPOSITS & OTHER   WITHDRAWALS &              DAILY
                           TRANSACTION DESCRIPTION
  DATE                                                                CREDITS (+)     OTHER DEBITS (-)          BALANCE
 02/01/2025   BEGINNING BALANCE                                                                                     $3,459.20
              NUMBER OF DEPOSITS/CHECKS PAID                                    0                   0




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FOR INQUIRIES CALL:   WEST MAIN STREET                                                                ACCOUNT TYPE
                      (860) 889-4711
                                                                                               COMMERCIAL CHECKING
                                                    ERR       0 08271M ERR 030
                                                                                      ACCOUNT NUMBER               STATEMENT PERIOD
                      000000                                                                   3687                 02/01/25 - 02/28/25
                                                                 N
                                                                                   BEGINNING BALANCE                        $615,836.77
                      DIOCESE OF NORWICH
                                                                                   DEPOSITS & CREDITS                        597,392.40
                      DEBTOR IN POSSESSION #21-20687
                                                                                   LESS CHECKS & DEBITS                      564,762.15
                      201 BROADWAY
                                                                                   LESS SERVICE CHARGES                            0.00
                      NORWICH CT 06360
                                                                                   ENDING BALANCE                           $648,467.02




                                                       ACCOUNT ACTIVITY
 POSTING                                                                DEPOSITS & OTHER      WITHDRAWALS &                 DAILY
                           TRANSACTION DESCRIPTION
  DATE                                                                     CREDITS (+)        OTHER DEBITS (-)             BALANCE
 02/01/2025   BEGINNING BALANCE                                                                                             $615,836.77
 02/03/2025   BANCORPSV BANCORPSV       99994                                                            $57.39               615,779.38
 02/04/2025   RETA TRUSTCOR350 PAYMENTS    0007218-0000-00                   $116,277.10
 02/04/2025   DIOCESE NORWICH ACH         -SETT-ONLINEACH                                             556,502.12
 02/04/2025   BANCORPSV BANCORPSV           99994                                                         116.07              175,438.29
 02/06/2025   BENEFIT COORDIN TPA SRVC     060687373                                                     250.00               175,188.29
 02/10/2025   BANCORPSV BANCORPSV          99994                                                          12.00               175,176.29
 02/11/2025   RETA TRUSTCOR350 PAYMENTS    0007218-0000-00                       299,573.33
 02/11/2025   BANCORPSV BANCORPSV       99994                                                              3.48
 02/11/2025   BANCORPSV BANCORPSV       99994                                                             54.16               474,691.98
 02/18/2025   BANCORPSV BANCORPSV       99995                                         50.00                                   474,741.98
 02/19/2025   RETA TRUSTCOR350 PAYMENTS    0007218-0000-00                        88,872.42
 02/19/2025   BANCORPSV BANCORPSV          99994                                                          180.00              563,434.40
 02/20/2025   NORWICHROMAN8165 February     DioceseofNorwic                                             7,469.17              555,965.23
 02/21/2025   REMOTE CHECK DEPOSIT                                                 1,366.61                                   557,331.84
 02/24/2025   BANCORPSV BANCORPSV          99994                                                            3.98              557,327.86
 02/25/2025   RETA TRUSTCOR350 PAYMENTS    0007218-0000-00                        91,252.94
 02/25/2025   BANCORPSV BANCORPSV       99994                                                            113.78               648,467.02
              NUMBER OF DEPOSITS/CHECKS PAID                                            6                    0




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FOR INQUIRIES CALL:    WEST MAIN STREET                                                                   ACCOUNT TYPE
                       (860) 889-4711
                                                                                                   COMMERCIAL CHECKING
                                                      ERR         0 08271M ERR 030
                                                                                          ACCOUNT NUMBER               STATEMENT PERIOD
                       000000                                                                      2203                 02/01/25 - 02/28/25
                                                                     N
                                                                                       BEGINNING BALANCE                         $47,369.16
                       NORWICH ROMAN CATHOLIC DIOCESAN CORP
                                                                                       DEPOSITS & CREDITS                         62,975.00
                       DEBTOR IN POSSESSION #21-20687
                                                                                       LESS CHECKS & DEBITS                       92,444.24
                       201 BROADWAY
                                                                                       LESS SERVICE CHARGES                            0.00
                       NORWICH CT 06360
                                                                                       ENDING BALANCE                            $17,899.92




                                                           ACCOUNT ACTIVITY
 POSTING                                                                    DEPOSITS & OTHER      WITHDRAWALS &                 DAILY
                             TRANSACTION DESCRIPTION
  DATE                                                                         CREDITS (+)        OTHER DEBITS (-)             BALANCE
 02/01/2025   BEGINNING BALANCE                                                                                                   $47,369.16
 02/12/2025   PAYCOR INC. PaycorFees      83628936341381                                                     $325.62
 02/12/2025   PAYCOR INC. tax fund      574296316120570                                                     5,029.74
 02/12/2025   PAYCOR INC. DD - Fund      279759684215042                                                    9,906.75               32,107.05
 02/20/2025   Matrix Trust Co PAYMENT    36961248                                                           2,416.00               29,691.05
 02/24/2025   XFER FROM:        0509                                                 $25,000.00                                    54,691.05
 02/25/2025   JANNEYMONTGOMERY CREDIT                      4091                       37,975.00                                    92,666.05
 02/26/2025   PAYCOR INC. PaycorFees      52656331215574                                                       55.47
 02/26/2025   PAYCOR INC. tax fund      796679051199540                                                     5,061.10
 02/26/2025   PAYCOR INC. DD - Fund      178975218098965                                                    9,877.00               77,672.48
 02/27/2025   PAYCOR INC. PaycorFees      106730623675364                                                     91.71
 02/27/2025   PAYCOR INC. PaycorFees      83335160594577                                                     169.59
 02/27/2025   PAYCOR INC. tax fund      625492144402370                                                     1,787.39
 02/27/2025   PAYCOR INC. POC funds       198222344104193                                                   1,950.00
 02/27/2025   PAYCOR INC. DD - Fund      245355341778500                                                    2,250.00
 02/27/2025   PAYCOR INC. tax fund      119723715289127                                                     3,313.40
 02/27/2025   PAYCOR INC. DD - Fund      147016282427527                                                   13,556.86
 02/27/2025   PAYCOR INC. DD - Fund      213968444191183                                                   34,237.61               20,315.92
 02/28/2025   Matrix Trust Co PAYMENT 37142634                                                              2,416.00               17,899.92
              NUMBER OF DEPOSITS/CHECKS PAID                                                2                     0




                                                                                                                                  PAGE 1 OF 2
                                           MANUFACTURERS AND TRADERS TRUST COMPANY
                                              1 FINANCIAL PLAZA HARTFORD, CT 06103
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FOR INQUIRIES CALL:     CUSTOMER ASSET MANAGEMENT                                                    ACCOUNT TYPE
                        (800) 724-2240
                                                                                              COMMERCIAL CHECKING
                                                         00    0 01228M NM 017
                                                                                     ACCOUNT NUMBER              STATEMENT PERIOD
                        000000                                                                1906                02/01/25 - 02/28/25
                                                                    N
                                                                                  BEGINNING BALANCE                         $5,948.19
                        NORWICH ROMAN CATHOLIC DIOCESAN CORP
                                                                                  DEPOSITS & CREDITS                             0.00
                        MICHAEL R COTE
                                                                                  LESS CHECKS & DEBITS                       1,433.58
                        DEBTOR IN POSSESSION #21-20687
                                                                                  LESS SERVICE CHARGES                           0.00
                        201 BROADWAY
                                                                                  ENDING BALANCE                            $4,514.61
                        NORWICH CT 06360




                                                         ACCOUNT ACTIVITY
 POSTING                                                                  DEPOSITS & OTHER   WITHDRAWALS &                DAILY
                             TRANSACTION DESCRIPTION
  DATE                                                                       CREDITS (+)     OTHER DEBITS (-)            BALANCE
 02/01/2025   BEGINNING BALANCE                                                                                              $5,948.19
 02/03/2025   PURCHASE ON 01/31                                                                         $61.03
              GULF NORWICH 720 BOSWELL AVE NORWICH            CT
 02/03/2025   PURCHASE ON 02/02                                                                          31.91
              GULF NORWICH 720 BOSWELL AVE NORWICH            CT                                                              5,855.25
 02/05/2025   PURCHASE ON 02/05                                                                          18.26
              GULF NORWICH 720 BOSWELL AVE NORWICH            CT
 02/05/2025   PURCHASE ON 02/05                                                                          47.87
              GULF NORWICH 720 BOSWELL AVE NORWICH            CT                                                              5,789.12
 02/06/2025   PURCHASE ON 02/06                                                                          36.22
              GULF NORWICH 720 BOSWELL AVE NORWICH            CT                                                              5,752.90
 02/07/2025   GANOS POWER EQUIPMENT COLCHESTER                                                           14.97
 02/07/2025   PURCHASE ON 02/07                                                                          20.58
              GULF NORWICH 720 BOSWELL AVE NORWICH            CT                                                              5,717.35
 02/10/2025   SQ *MES            Norwich                                                                532.45
 02/10/2025   SQ *MES            Norwich                                                                177.90
 02/10/2025   SQ *MES        Norwich                                                                    144.25
 02/10/2025   PURCHASE ON 02/08                                                                          28.87
              GULF NORWICH 720 BOSWELL AVE NORWICH            CT                                                              4,833.88
 02/14/2025   PURCHASE ON 02/14                                                                          41.03
              TAFTVILLE MOBI186 NORWICH AVE TAFTVILLE         CT                                                              4,792.85
 02/24/2025   PURCHASE ON 02/23                                                                          50.00
              MIDWAY MOBIL 568 NORWICH-NEW LOUNCASVILLE CT
 02/24/2025   PURCHASE ON 02/24                                                                          32.18
              GULF NORWICH 720 BOSWELL AVE NORWICH            CT                                                              4,710.67
 02/25/2025   PURCHASE ON 02/25                                                                          42.37
              MONTVILLE MOBII-395 SOUTH BETWEEMONTVILLE            CT                                                         4,668.30
 02/26/2025   VIANNEY_VOCATIONS VIANNEYVOCATI                                                           153.69                4,514.61
              NUMBER OF DEPOSITS/CHECKS PAID                                          0                     0




                                                                                                                            PAGE 1 OF 2
                                            MANUFACTURERS AND TRADERS TRUST COMPANY
                                           ONE FOUNTAIN PLAZA BUFFALO, NEW YORK 14203-1495
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                                                                                                                              Client Account Summary
Account number: XXXX-0959                                                                                                     February 1 - February 28, 2025
Investment Objective: Growth & Income/Moderate                                                                                                           Page 1 of 3

Your Financial Advisor                                                                 INCOME AND EXPENSE SUMMARY
EIGHT SIXTY PARTNERS                                                                                                             Current Period         Year-to-Date
                                                                                       Taxable Dividends                               3,741.36               7,601.31
                                                                                       Tax-Exempt Dividends                                0.00                   0.00
    NNNNNN   HW29
                                                                                       Taxable Interest                                    0.00                   0.00
    DIOCESE OF NORWICH                                                                 Tax-Exempt Interest                                 0.00                   0.00
    INSURANCE RESERVE ACCOUNT                                                          Janney Insured Sweep Interest**                     0.04                   0.08
    201 BROADWAY                                                                       Capital Gain Distributions                          0.00                   0.00
    NORWICH       CT 06360-4480                                                        Partnership Distributions                           0.00                   0.00
                                                                                       Other Income                                        0.00                   0.00
                                                                                       TOTAL INCOME                                    3,741.40               7,601.39
                                                                                       Tax Withheld                                           0.00                0.00
PORTFOLIO SUMMARY                                                                      Margin Interest Expense                                0.00                0.00
                                                                                       TOTAL EXPENSES                                         0.00                0.00
                                           As of 1/31/25        As of 2/28/25
Money Market Funds                         1,020,457.78        1,024,199.14
Janney Insured Sweep**                            32.52                32.56           CASH ACTIVITY SUMMARY
TOTAL ACCOUNT VALUE                        1,020,490.30        1,024,231.70                                                      Current Period        Year-to-Date
ACCOUNT ALLOCATION                                                                     Opening Credit/(Debit) Balance                      0.00                 0.00
                                                                                       Cash Deposits                                       0.00                 0.00
                                                                                       Cash Withdrawals                                    0.00                 0.00
                                                                                       Securities Bought                              (3,741.36)          (7,601.31)
                                                                                       Securities Sold                                     0.00                 0.00
                                                                                       Net Income (Expense)                            3,741.40            7,601.39
                                                                                       Other Activity                                      0.00                 0.00
                                                                                       Money Market Summary                                0.00                 0.00
                                                                                       Janney Insured Sweep Activity**                    (0.04)               (0.08)
                                                                                       CLOSING CREDIT/(DEBIT) BALANCE                      0.00                 0.00
                                                                                       ACCOUNT VALUE COMPARISON


                                                                                                                 1,016,630        1,020,490          1,024,231
       Money Market Funds 100.00%




                                                                                               691
                                                                                              12/23               12/24            01/25              02/25
                    **Janney Insured Sweep balances are FDIC insured, are not covered by Janney or SIPC and are not available for margin purposes.

                                                                                                                                                                         HW29
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                                                                                                                            Client Account Summary
Account number: XXXX-9841                                                                                                   February 1 - February 28, 2025
Investment Objective: Growth & Income/Moderate                                                                                                          Page 1 of 9

Your Financial Advisor                                                                 INCOME AND EXPENSE SUMMARY
EIGHT SIXTY PARTNERS                                                                                                            Current Period         Year-to-Date
                                                                                       Taxable Dividends                                401.82                 1,191.81
                                                                                       Tax-Exempt Dividends                               0.00                     0.00
    NNNNNN   HW29
                                                                                       Taxable Interest                               2,250.75                 3,002.20
    THE DIOCESE OF NORWICH                                                             Tax-Exempt Interest                                0.00                     0.00
    PRIEST NEEDS ACCOUNT                                                               Janney Insured Sweep Interest**                    5.47                     9.65
    201 BROADWAY                                                                       Capital Gain Distributions                         0.00                     0.00
    NORWICH       CT 06360-4480                                                        Partnership Distributions                          0.00                     0.00
                                                                                       Other Income                                       0.00                     0.00
                                                                                       TOTAL INCOME                                   2,658.04                 4,203.66
                                                                                       Tax Withheld                                         0.00                   0.00
PORTFOLIO SUMMARY                                                                      Margin Interest Expense                              0.00                   0.00
                                                                                       TOTAL EXPENSES                                       0.00                   0.00
                                           As of 1/31/25        As of 2/28/25
Money Market Funds                           59,554.34            59,772.69
Janney Insured Sweep**                         3,531.89            5,163.11            CASH ACTIVITY SUMMARY
Credit/(Debit) Balance                              0.00             625.00                                                     Current Period        Year-to-Date
Equities - Mutual Funds, ETFs, UITs         147,343.67           142,590.23
                                                                                       Opening Credit/(Debit) Balance                     0.00                0.00
Fixed Income - Bonds & Preferred            346,098.70           349,789.90            Cash Deposits                                      0.00                0.00
Fixed Income - Mutual Funds, ETFs, UITs      45,109.49            45,439.94            Cash Withdrawals                                   0.00                0.00
Other Investments                            37,332.44            37,792.88            Securities Bought                               (401.82)          (5,147.86)
TOTAL ACCOUNT VALUE                         638,970.53           641,173.75            Securities Sold                                    0.00            5,148.19
Accrued Interest                               4,091.47            3,415.21            Net Income (Expense)                           2,658.04            3,670.36
                                                                                       Other Activity                                     0.00                1.98
ACCOUNT ALLOCATION                                                                     Money Market Summary                               0.00                0.00
                                                                                       Janney Insured Sweep Activity**               (1,631.22)          (3,047.67)
                                                                                       CLOSING CREDIT/(DEBIT) BALANCE                   625.00              625.00
                                     Janney Insured Sweep 0.85%
                                       Other Investments 5.90%                         ACCOUNT VALUE COMPARISON
                                            Money Market Funds 9.33%
                                                                                                                 627,423          638,970            641,173
                                                                                             584,383




                                                 Equities 22.24%
     Fixed Income 61.68%




                                                                                              12/23              12/24            01/25              02/25
                    **Janney Insured Sweep balances are FDIC insured, are not covered by Janney or SIPC and are not available for margin purposes.

                                                                                                                                                                          HW29
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                                                                                                                            Client Account Summary
Account number: XXXX-7676                                                                                                   February 1 - February 28, 2025
Investment Objective: Growth & Income/Moderate                                                                                                         Page 1 of 19

Your Financial Advisor                                                                 INCOME AND EXPENSE SUMMARY
EIGHT SIXTY PARTNERS                                                                                                            Current Period         Year-to-Date
                                                                                       Taxable Dividends                                  167.92               446.37
                                                                                       Tax-Exempt Dividends                                 0.00                 0.00
    NNNNNN   HW29
                                                                                       Taxable Interest                                     0.00                 0.00
    THE DIOCESE OF NORWICH                                                             Tax-Exempt Interest                                  0.00                 0.00
    PRIEST NEEDS ACCOUNT                                                               Janney Insured Sweep Interest**                      9.64                16.98
    201 BROADWAY                                                                       Capital Gain Distributions                           0.00                 0.00
    NORWICH       CT 06360-4480                                                        Partnership Distributions                            0.00                 0.00
                                                                                       Other Income                                         0.00                 0.00
                                                                                       TOTAL INCOME                                       177.56               463.35
                                                                                       Tax Withheld                                         0.00                 0.00
PORTFOLIO SUMMARY                                                                      Margin Interest Expense                              0.00                 0.00
                                                                                       TOTAL EXPENSES                                       0.00                 0.00
                                           As of 1/31/25        As of 2/28/25
Janney Insured Sweep**                         7,542.17            7,736.95
Credit/(Debit) Balance                            59.29                26.12           CASH ACTIVITY SUMMARY
Equities - Stocks and Options               186,889.21           188,407.44                                                     Current Period        Year-to-Date
Fixed Income - Mutual Funds, ETFs, UITs        3,094.14            3,092.60
                                                                                       Opening Credit/(Debit) Balance                    59.29                46.17
TOTAL ACCOUNT VALUE                         197,584.81           199,263.11            Cash Deposits                                      0.00                 0.00
                                                                                       Cash Withdrawals                                   0.00                 0.00
ACCOUNT ALLOCATION
                                                                                       Securities Bought                             (4,100.23)          (5,473.64)
                                                                                       Securities Sold                                4,084.28            8,318.93
                                      Fixed Income 1.55%                               Net Income (Expense)                             177.56               (14.39)
                                        Janney Insured Sweep 3.93%                     Other Activity                                     0.00                 0.60
                                                                                       Money Market Summary                               0.00                 0.00
                                                                                       Janney Insured Sweep Activity**                 (194.78)          (2,851.55)
                                                                                       CLOSING CREDIT/(DEBIT) BALANCE                    26.12                26.12
                                                                                       ACCOUNT VALUE COMPARISON
                                                                                                                                  197,584            199,263
                                                                                                                 191,142

                                                                                             166,171



                    Equities 94.52%




                                                                                              12/23              12/24            01/25              02/25
                    **Janney Insured Sweep balances are FDIC insured, are not covered by Janney or SIPC and are not available for margin purposes.

                                                                                                                                                                        HW29
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                                                                                                                            Client Account Summary
Account number: XXXX-7582                                                                                                   February 1 - February 28, 2025
Investment Objective: Growth & Income/Moderate                                                                                                         Page 1 of 11

Your Financial Advisor                                                                 INCOME AND EXPENSE SUMMARY
EIGHT SIXTY PARTNERS                                                                                                            Current Period         Year-to-Date
                                                                                       Taxable Dividends                                364.22                   859.84
                                                                                       Tax-Exempt Dividends                               0.00                     0.00
    NNNNNN   HW29
                                                                                       Taxable Interest                               1,022.76                 1,022.76
    THE DIOCESE OF NORWICH                                                             Tax-Exempt Interest                              425.00                   425.00
    ECUMENICAL FUND                                                                    Janney Insured Sweep Interest**                   14.49                    20.09
    201 BROADWAY                                                                       Capital Gain Distributions                         0.00                     0.00
    NORWICH       CT 06360-4480                                                        Partnership Distributions                          0.00                     0.00
                                                                                       Other Income                                       0.00                     0.00
                                                                                       TOTAL INCOME                                   1,826.47                 2,327.69
                                                                                       Tax Withheld                                         0.00                   0.00
PORTFOLIO SUMMARY                                                                      Margin Interest Expense                              0.00                   0.00
                                                                                       TOTAL EXPENSES                                       0.00                   0.00
                                           As of 1/31/25         As of 2/28/25
Money Market Funds                           45,033.90             45,199.01
Janney Insured Sweep**                         4,621.13             5,083.86           CASH ACTIVITY SUMMARY
Equities - Mutual Funds, ETFs, UITs         354,137.45            359,869.79                                                    Current Period        Year-to-Date
Fixed Income - Bonds & Preferred            372,391.85            358,392.55
                                                                                       Opening Credit/(Debit) Balance                     0.00               578.13
Fixed Income - Mutual Funds, ETFs, UITs      48,955.41             49,314.03           Cash Deposits                                      0.00                 0.00
Other Investments                            89,769.27             93,911.29           Cash Withdrawals                                   0.00                 0.00
TOTAL ACCOUNT VALUE                         914,909.01            911,770.53           Securities Bought                            (21,363.74)         (29,267.60)
Accrued Interest                               4,793.82             4,580.69           Securities Sold                               20,000.00           28,882.31
                                                                                       Net Income (Expense)                           1,826.47             1,565.98
ACCOUNT ALLOCATION                                                                     Other Activity                                     0.00                 2.83
                                                                                       Money Market Summary                               0.00                 0.00
                                                                                       Janney Insured Sweep Activity**                 (462.73)           (1,761.65)
                                     Janney Insured Sweep 0.60%
                                                                                       CLOSING CREDIT/(DEBIT) BALANCE                     0.00                 0.00
                                       Money Market Funds 4.95%
                                            Other Investments 10.29%                   ACCOUNT VALUE COMPARISON

                                                                                                                 896,131          914,909            911,770
                                                                                             815,905
    Fixed Income 44.73%




                                               Equities 39.43%




                                                                                              12/23              12/24            01/25              02/25
                    **Janney Insured Sweep balances are FDIC insured, are not covered by Janney or SIPC and are not available for margin purposes.

                                                                                                                                                                          HW29
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                                                                                                                            Client Account Summary
Account number: XXXX-4046                                                                                                   February 1 - February 28, 2025
Investment Objective: Growth & Income/Moderate                                                                                                          Page 1 of 6

Your Financial Advisor                                                                 INCOME AND EXPENSE SUMMARY
EIGHT SIXTY PARTNERS                                                                                                            Current Period         Year-to-Date
                                                                                       Taxable Dividends                                  322.52               562.04
                                                                                       Tax-Exempt Dividends                                 0.00                 0.00
    NNNNNN   HW29
                                                                                       Taxable Interest                                     0.00                 0.00
    THE DIOCESE OF NORWICH                                                             Tax-Exempt Interest                                  0.00                 0.00
    SEMINARIAN EDUCATIONAL FUND                                                        Janney Insured Sweep Interest**                      5.70                39.71
    201 BROADWAY                                                                       Capital Gain Distributions                           0.00                 0.00
    NORWICH       CT 06360-4480                                                        Partnership Distributions                            0.00                 0.00
                                                                                       Other Income                                         0.00                 0.00
                                                                                       TOTAL INCOME                                       328.22               601.75
                                                                                       Tax Withheld                                         0.00                 0.00
PORTFOLIO SUMMARY                                                                      Margin Interest Expense                              0.00                 0.00
                                                                                       TOTAL EXPENSES                                       0.00                 0.00
                                           As of 1/31/25        As of 2/28/25
Money Market Funds                           60,000.00            60,245.78
Janney Insured Sweep**                         4,788.33            4,794.03            CASH ACTIVITY SUMMARY
Equities - Mutual Funds, ETFs, UITs         114,214.81           113,062.31                                                     Current Period        Year-to-Date
Fixed Income - Bonds & Preferred             93,570.60            95,951.90
                                                                                       Opening Credit/(Debit) Balance                     0.00                 0.00
Fixed Income - Mutual Funds, ETFs, UITs      62,339.35            63,534.66            Cash Deposits                                      0.00           57,736.00
Other Investments                           239,629.57           241,449.70            Cash Withdrawals                                   0.00                 0.00
TOTAL ACCOUNT VALUE                         574,542.66           579,038.38            Securities Bought                               (322.52)        (331,030.92)
Accrued Interest                               1,053.84            1,437.91            Securities Sold                                    0.00          277,957.85
                                                                                       Net Income (Expense)                             328.22               128.80
ACCOUNT ALLOCATION                                                                     Other Activity                                     0.00                 1.59
                                                                                       Money Market Summary                               0.00                 0.00
                                                                                       Janney Insured Sweep Activity**                   (5.70)           (4,793.32)
                                     Janney Insured Sweep 0.87%                        CLOSING CREDIT/(DEBIT) BALANCE                     0.00                 0.00
                                         Money Market Funds 10.37%
                                                                                       ACCOUNT VALUE COMPARISON

                                                                                                                                  574,542            579,038
Other Investments 41.70%                         Equities 19.52%                                                 504,461
                                                                                             445,324




                                          Fixed Income 27.54%




                                                                                              12/23              12/24            01/25              02/25
                    **Janney Insured Sweep balances are FDIC insured, are not covered by Janney or SIPC and are not available for margin purposes.

                                                                                                                                                                        HW29
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                                                                                                                            Client Account Summary
Account number: XXXX-0304                                                                                                   February 1 - February 28, 2025
Investment Objective: Growth & Income/Moderate                                                                                                          Page 1 of 3

Your Financial Advisor                                                                 INCOME AND EXPENSE SUMMARY
EIGHT SIXTY PARTNERS                                                                                                            Current Period         Year-to-Date
                                                                                       Taxable Dividends                                   44.76              92.98
                                                                                       Tax-Exempt Dividends                                 0.00               0.00
    NNNNNN   HW29
                                                                                       Taxable Interest                                     0.00               0.00
    THE DIOCESE OF NORWICH                                                             Tax-Exempt Interest                                  0.00               0.00
    GIFT ANNUITIES                                                                     Janney Insured Sweep Interest**                      0.55               0.97
    201 BROADWAY                                                                       Capital Gain Distributions                           0.00               0.00
    NORWICH CT 06360-4458                                                              Partnership Distributions                            0.00               0.00
                                                                                       Other Income                                         0.00               0.00
                                                                                       TOTAL INCOME                                        45.31              93.95
                                                                                       Tax Withheld                                         0.00               0.00
PORTFOLIO SUMMARY                                                                      Margin Interest Expense                              0.00               0.00
                                                                                       TOTAL EXPENSES                                       0.00               0.00
                                           As of 1/31/25        As of 2/28/25
Money Market Funds                           12,026.02            12,070.78
Janney Insured Sweep**                           466.46              467.01            CASH ACTIVITY SUMMARY
TOTAL ACCOUNT VALUE                          12,492.48            12,537.79                                                     Current Period        Year-to-Date
ACCOUNT ALLOCATION                                                                     Opening Credit/(Debit) Balance                     0.00                 0.00
                                                                                       Cash Deposits                                      0.00                 0.00
                                                                                       Cash Withdrawals                                   0.00                 0.00
                                                                                       Securities Bought                                (44.76)              (92.98)
                                      Janney Insured Sweep 3.77%                       Securities Sold                                    0.00              465.00
                                                                                       Net Income (Expense)                              45.31                93.95
                                                                                       Other Activity                                     0.00                 0.00
                                                                                       Money Market Summary                               0.00                 0.00
                                                                                       Janney Insured Sweep Activity**                   (0.55)            (465.97)
                                                                                       CLOSING CREDIT/(DEBIT) BALANCE                     0.00                 0.00
                                                                                       ACCOUNT VALUE COMPARISON

                                                                                              13,643
                                                                                                                 12,443           12,492             12,537
       Money Market Funds 96.23%




                                                                                              12/23              12/24            01/25              02/25
                    **Janney Insured Sweep balances are FDIC insured, are not covered by Janney or SIPC and are not available for margin purposes.

                                                                                                                                                                       HW29
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                                                                                                                            Client Account Summary
Account number: XXXX-8850                                                                                                   February 1 - February 28, 2025
Investment Objective: Growth & Income/Moderate                                                                                                          Page 1 of 8

Your Financial Advisor                                                                 INCOME AND EXPENSE SUMMARY
EIGHT SIXTY PARTNERS                                                                                                            Current Period         Year-to-Date
                                                                                       Taxable Dividends                                  213.02               436.37
                                                                                       Tax-Exempt Dividends                                 0.00                 0.00
    NNNNNN   HW26
                                                                                       Taxable Interest                                    81.25               109.38
    THE KING FAMILY FUND FOR                                                           Tax-Exempt Interest                                  0.00                 0.00
    PRIESTS AND SEMINARIANS                                                            Janney Insured Sweep Interest**                      2.05                 8.91
    201 BROADWAY                                                                       Capital Gain Distributions                           0.00                 0.00
    NORWICH CT 06360-4458                                                              Partnership Distributions                            0.00                 0.00
                                                                                       Other Income                                         0.00                 0.00
                                                                                       TOTAL INCOME                                       296.32               554.66
                                                                                       Tax Withheld                                         0.00                 0.00
PORTFOLIO SUMMARY                                                                      Margin Interest Expense                              0.00                 0.00
                                                                                       TOTAL EXPENSES                                       0.00                 0.00
                                            As of 1/31/25       As of 2/28/25
Money Market Funds                            36,316.62           36,449.77
Janney Insured Sweep**                          1,584.26           1,775.56            CASH ACTIVITY SUMMARY
Credit/(Debit) Balance                             28.13                0.00                                                    Current Period        Year-to-Date
Equities - Mutual Funds, ETFs, UITs          131,701.79          129,268.97
                                                                                       Opening Credit/(Debit) Balance                    28.13                0.00
Fixed Income - Bonds & Preferred              37,094.30           37,295.40            Cash Deposits                                      0.00                0.00
Fixed Income - Mutual Funds, ETFs, UITs       27,311.68           27,731.40            Cash Withdrawals                                   0.00                0.00
Other Investments                             88,850.94           89,934.38            Securities Bought                               (133.15)         (10,361.13)
TOTAL ACCOUNT VALUE                          322,887.72          322,455.48            Securities Sold                                    0.00                0.00
Accrued Interest                                  141.97               94.14           Net Income (Expense)                             296.32              287.75
                                                                                       Other Activity                                     0.00                0.99
ACCOUNT ALLOCATION                                                                     Money Market Summary                               0.00                0.00
                                                                                       Janney Insured Sweep Activity**                 (191.30)          10,072.39
                                                                                       CLOSING CREDIT/(DEBIT) BALANCE                     0.00                0.00
                                     Janney Insured Sweep 0.60%
                                         Money Market Funds 11.31%                     ACCOUNT VALUE COMPARISON

                                                                                                                 314,016          322,887            322,455
          Equities 40.05%                                                                    281,616
                                                  Fixed Income 20.14%




                                          Other Investments 27.90%


                                                                                              12/23              12/24            01/25              02/25
                    **Janney Insured Sweep balances are FDIC insured, are not covered by Janney or SIPC and are not available for margin purposes.

                                                                                                                                                                        HW26
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                                                                                                                            Client Account Summary
Account number: XXXX-8691                                                                                                   February 1 - February 28, 2025
Investment Objective: Growth & Income/Moderate                                                                                                          Page 1 of 8

Your Financial Advisor                                                                 INCOME AND EXPENSE SUMMARY
EIGHT SIXTY PARTNERS                                                                                                            Current Period         Year-to-Date
                                                                                       Taxable Dividends                              1,334.36                 2,707.28
                                                                                       Tax-Exempt Dividends                               0.00                     0.00
    NNNNNN   HW26
                                                                                       Taxable Interest                                 316.88                   316.88
    NORWICH ROMAN CATHOLIC                                                             Tax-Exempt Interest                                0.00                     0.00
    DIOCESAN CORP CONTINUING EDUC                                                      Janney Insured Sweep Interest**                    4.07                    17.39
    201 BROADWAY                                                                       Capital Gain Distributions                         0.00                     0.00
    NORWICH CT 06360-4458                                                              Partnership Distributions                          0.00                     0.00
                                                                                       Other Income                                       0.00                     0.00
                                                                                       TOTAL INCOME                                   1,655.31                 3,041.55
                                                                                       Tax Withheld                                         0.00                   0.00
PORTFOLIO SUMMARY                                                                      Margin Interest Expense                              0.00                   0.00
                                                                                       TOTAL EXPENSES                                       0.00                   0.00
                                            As of 1/31/25       As of 2/28/25
Money Market Funds                           333,213.94          334,435.62
Janney Insured Sweep**                          3,868.06           3,167.69            CASH ACTIVITY SUMMARY
Equities - Mutual Funds, ETFs, UITs          192,039.36          188,491.85                                                     Current Period        Year-to-Date
Fixed Income - Bonds & Preferred              83,806.67           83,986.98
                                                                                       Opening Credit/(Debit) Balance                     0.00                0.00
Fixed Income - Mutual Funds, ETFs, UITs       39,830.93           40,443.10            Cash Deposits                                      0.00                0.00
Other Investments                            129,580.85          131,161.15            Cash Withdrawals                              (1,134.00)          (1,134.00)
TOTAL ACCOUNT VALUE                          782,339.81          781,686.39            Securities Bought                             (1,221.68)         (19,717.02)
Accrued Interest                                  709.38             525.06            Securities Sold                                    0.00                0.00
                                                                                       Net Income (Expense)                           1,655.31            2,388.22
ACCOUNT ALLOCATION                                                                     Other Activity                                     0.00                2.43
                                                                                       Money Market Summary                               0.00                0.00
                                                                                       Janney Insured Sweep Activity**                  700.37           18,460.37
                                     Janney Insured Sweep 0.45%                        CLOSING CREDIT/(DEBIT) BALANCE                     0.00                0.00
                                          Fixed Income 15.92%
                                                                                       ACCOUNT VALUE COMPARISON

                                                                                                                 768,630          782,339            781,686
     Money Market Funds                                                                      706,442
     42.71%
                                                  Other Investments 16.77%




                                          Equities 24.15%




                                                                                              12/23              12/24            01/25              02/25
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                                                                                                                                                                          HW26
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                                                                                                                             Client Account Summary
Account number: XXXX-0689                                                                                                    February 1 - February 28, 2025
Investment Objective: Growth & Income/Moderate                                                                                                           Page 1 of 7

Your Financial Advisor                                                                  INCOME AND EXPENSE SUMMARY
EIGHT SIXTY PARTNERS                                                                                                             Current Period         Year-to-Date
                                                                                        Taxable Dividends                                990.66                 2,020.03
                                                                                        Tax-Exempt Dividends                               0.00                     0.00
    NNNNNN    HW26
                                                                                        Taxable Interest                                 414.38                   414.38
    NORWICH ROMAN CATHOLIC                                                              Tax-Exempt Interest                                0.00                     0.00
    DIOCESAN CORP SAM ACCOUNT                                                           Janney Insured Sweep Interest**                    5.68                    21.25
    201 BROADWAY                                                                        Capital Gain Distributions                         0.00                     0.00
    NORWICH CT 06360-4458                                                               Partnership Distributions                          0.00                     0.00
                                                                                        Other Income                                       0.00                     0.00
                                                                                        TOTAL INCOME                                   1,410.72                 2,455.66
                                                                                        Tax Withheld                                         0.00                   0.00
PORTFOLIO SUMMARY                                                                       Margin Interest Expense                              0.00                   0.00
                                                                                        TOTAL EXPENSES                                       0.00                   0.00
                                            As of 1/31/25        As of 2/28/25
Money Market Funds                           225,824.94           226,652.89
Janney Insured Sweep**                          4,443.94            5,026.71            CASH ACTIVITY SUMMARY
Equities - Mutual Funds, ETFs, UITs          268,301.91           263,345.59                                                     Current Period        Year-to-Date
Fixed Income - Bonds & Preferred             166,383.54           167,209.29
                                                                                        Opening Credit/(Debit) Balance                     0.00                0.00
Fixed Income - Mutual Funds, ETFs, UITs       55,639.26            56,494.37            Cash Deposits                                      0.00                0.00
Other Investments                            181,027.62           183,235.33            Cash Withdrawals                                   0.00                0.00
TOTAL ACCOUNT VALUE                          901,621.21           901,964.18            Securities Bought                               (827.95)         (22,072.03)
Accrued Interest                                  995.28              784.42            Securities Sold                                    0.00                0.00
                                                                                        Net Income (Expense)                          1,410.72             1,705.08
ACCOUNT ALLOCATION                                                                      Other Activity                                     0.00                2.80
                                                                                        Money Market Summary                               0.00                0.00
                                                                                        Janney Insured Sweep Activity**                 (582.77)          20,364.15
                                      Janney Insured Sweep 0.60%                        CLOSING CREDIT/(DEBIT) BALANCE                     0.00                0.00
                                             Other Investments 20.31%                   ACCOUNT VALUE COMPARISON
             Equities 29.21%
                                                                                                                  883,036          901,621            901,964
                                                                                              805,577




                                                 Fixed Income 24.82%

   Money Market Funds 25.06%




                                                                                               12/23              12/24            01/25              02/25
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                                                                                                                              Client Account Summary
Account number: XXXX-0652                                                                                                     February 1 - February 28, 2025
Investment Objective: Growth & Income/Moderate                                                                                                          Page 1 of 12

Your Financial Advisor                                                                 INCOME AND EXPENSE SUMMARY
EIGHT SIXTY PARTNERS                                                                                                             Current Period         Year-to-Date
                                                                                       Taxable Dividends                               2,758.34               6,023.80
                                                                                       Tax-Exempt Dividends                                0.00                   0.00
    NNNNNN   HW26
                                                                                       Taxable Interest                                    0.00                   0.00
    MICHAEL AND CATHERINE KING                                                         Tax-Exempt Interest                                 0.00                   0.00
    VOCATION FUND                                                                      Janney Insured Sweep Interest**                    10.42                  25.17
    201 BROADWAY                                                                       Capital Gain Distributions                          0.00                   0.00
    NORWICH CT 06360-4458                                                              Partnership Distributions                           0.00                   0.00
                                                                                       Other Income                                        0.00                   0.00
                                                                                       TOTAL INCOME                                    2,768.76               6,048.97
                                                                                       Tax Withheld                                           0.00                0.00
PORTFOLIO SUMMARY                                                                      Margin Interest Expense                                0.00                0.00
                                                                                       TOTAL EXPENSES                                         0.00                0.00
                                           As of 1/31/25        As of 2/28/25
Money Market Funds                           454,230.65          455,896.02
Janney Insured Sweep**                        11,322.83            7,631.11            CASH ACTIVITY SUMMARY
Equities - Stocks and Options                759,167.18          779,887.62                                                      Current Period        Year-to-Date
Fixed Income - Bonds & Preferred              79,723.68           79,841.08
                                                                                       Opening Credit/(Debit) Balance                      0.00               67.60
TOTAL ACCOUNT VALUE                        1,304,444.34        1,323,255.83            Cash Deposits                                       0.00                0.00
Accrued Interest                                 725.72              871.90            Cash Withdrawals                                    0.00                0.00
                                                                                       Securities Bought                             (35,200.05)         (36,918.21)
ACCOUNT ALLOCATION                                                                     Securities Sold                                28,739.57           28,739.57
                                                                                       Net Income (Expense)                            2,768.76            4,961.24
                                                                                       Other Activity                                      0.00                4.05
                                     Janney Insured Sweep 0.62%
                                                                                       Money Market Summary                                0.00                0.00
                                       Fixed Income 6.04%
                                                                                       Janney Insured Sweep Activity**                 3,691.72            3,145.75
                                                                                       CLOSING CREDIT/(DEBIT) BALANCE                      0.00                0.00
                                                                                       ACCOUNT VALUE COMPARISON
                                                 Money Market Funds
                                                 34.43%
                                                                                                                 1,279,686        1,304,444          1,323,255
          Equities 58.91%                                                                    1,203,628




                                                                                              12/23               12/24            01/25              02/25
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                                                                                                                                                                         HW26
